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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :      No. 24-CR-2 (BAH)
               v.                            :
                                             :
BARRY P. BENNETT,                            :
                Defendant.                   :

           UNOPPOSED MOTION FOR CONTINUANCE AND EXCLUSION
                  OF TIME UNDER THE SPEEDY TRIAL ACT

       The United States of America hereby moves this Court to: (1) place this case in abeyance

for 18 months; (2) exclude the time within which a trial must be held under the Speedy Trial Act,

18 U.S.C. § 3161 et seq., until September 2, 2025, on the basis that the prosecution is being

deferred by an attorney for the government pursuant to a written agreement with the defendant;

and (3) set a status conference on a date and time convenient to the Court and the parties on or

after September 2, 2025. In support of its motion, the government states as follows:

                                  PROCEDURAL HISTORY

       On December 28, 2023, the government and Defendant Barry P. Bennett entered into a

deferred prosecution agreement (DPA or Agreement) through which the government has agreed

that, except as provided in the Agreement, it will not bring any criminal or civil case against

Defendant relating to any of the conduct described in the Statement of Facts attached as Exhibit A

to the Agreement. (See Exhibit 1.) On January 2, 2024, the United States filed an information

charging Defendant with violations of 18 U.S.C. § 1001(a)(1) (Scheme to Falsify, Conceal, and

Cover up Material Facts from the Department of Justice’s FARA Unit) and 22 U.S.C. § 618(a)(2)

(False Statements and Material Omissions in Filings Under the Foreign Agents Registration Act).

       The DPA is for a term of 18 months. The DPA provides that, if, upon completion of the

period of deferred prosecution, the government verifies that the defendant has complied with all
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the conditions of deferred prosecution set forth above, the government will move to dismiss the

Information with prejudice within two months of receiving this report. Accordingly, the

government is asking the Court to hold this case in abeyance for 18 months, toll the STA until

September 2, 2025, and to set a status conference on a date and time convenient to the Court and

the parties on or before September 2, 2025.

                                         ARGUMENT

       Pursuant to the Speedy Trial Act, in any case in which a plea of not guilty is entered, trial

of a defendant charged in an information or indictment with the commission of an offense must

commence within seventy days from the filing date (and making public) of the information or

indictment, or from the date the defendant has appeared before a judicial officer of the court in

which such charge is pending, whichever date occurs last. 18 U.S.C. § 3161(c)(1).

       Section 3161(h) of the Speedy Trial Act sets forth certain periods of delay which the Court

must exclude from the computation of time within which a trial must commence. As is relevant to

this motion, “[t]he [Speedy Trial] Act excludes any period of time ‘during which prosecution is

deferred by the attorney for the Government pursuant to written agreement with the defendant,

with the approval of the court, for the purpose of allowing the defendant to demonstrate his good

conduct.’” United States v. Fokker Servs. B.V., 818 F.3d 733, 740–41 (D.C. Cir. 2016) (quoting

18 U.S.C. § 3161(h)(2)). The Speedy Trial Act “confers no authority in a court to withhold

exclusion of time pursuant to a DPA based on concerns that the government should bring different

charges or should charge different defendants.” Fokker, 818 F.3d at 738. Further, “[a]lthough

charges remain pending on the court's docket under a DPA, the court plays no role in monitoring

the defendant's compliance with the DPA's conditions.” Id. at 744. Rather, the Court’s inquiry is



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confined “to examining whether the DPA served the purpose of allowing [the defendant] to

demonstrate [his] good conduct, as contemplated by § 3161(h)(2).” Id. at 747; see United States v.

HSBC Bank USA, N.A., 863 F.3d 125, 137 (2d Cir. 2017) (“the district court has no freestanding

supervisory power to monitor the implementation of a DPA”).

       In this case, the DPA provides that any prosecution will be deferred for 12 months, during

which time Defendant must:

           •   Not engage in any conduct that would require registration under FARA, 22 U.S.C.
               §§ 611-618 for a period not to exceed 18 months from the date the parties sign the
               DPA;

           •   Cause Avenue Strategies Global LLC to correct its September 2017 and March
               2018 FARA filings based on instructions provided by the U.S. Attorney’s Office;

           •   Pay the Fine Amount pursuant to the schedule detailed in the DPA;
               and

           •   Comply with the terms of the Court’s Order of Release.

Exhibit 1 at 3. These conditions will serve to allow Defendant to demonstrate his good conduct,

as contemplated by § 3161(h)(2).

       Government counsel has notified counsel for Defendant of the filing of this motion, and

counsel does not oppose the motion.




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                                       CONCLUSION

       WHEREFORE, the government respectfully requests that this Court grant this motion to

place the matter in abeyance for 18 months and to exclude, pursuant to 18 U.S.C. § 3161(h)(2) &

3161(h)(7)(A), the time within which a trial must be held under the Speedy Trial Act, until

September 2, 2025. The government further requests that the Court set a status conference on a

date and time convenient to the Court and the parties on or before September 2, 2025.

                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            D.C. Bar 481052

                                     By:    /s/Jolie F. Zimmerman
                                            Jolie F. Zimmerman
                                            Assistant United States Attorney
                                            D.C. Bar No. 465110
                                            United States Attorney’s Office for the District of
                                              Columbia
                                            601 D Street, N.W.
                                            Washington, DC 20530
                                            (202) 252-7220
                                            Jolie.Zimmerman@usdoj.gov

                                            MATTHEW G. OLSEN
                                            Assistant Attorney General for National Security
                                            D.C. Bar No. 425240

                                     By:    /s/ Evan N. Turgeon
                                            EVAN N. TURGEON
                                            Deputy Chief for Counter Foreign Malign
                                            Influence, Counterintelligence and Export Control
                                            Section
                                            D.C. Bar No. 1010816; MA Bar No. 675961
                                            Department of Justice
                                            National Security Division
                                            950 Pennsylvania Avenue, N.W.
                                            Washington, D.C. 20530



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                           (202) 353-0176
                           evan.turgeon@usdoj.gov




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